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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


NATIONAL ASSOCIATION FOR HOME
  CARE & HOSPICE,

               Plaintiff,

        v.                                         No. 1:23-cv-1942 (TNM)

XAVIER BECERRA, in his official capacity
  as Secretary of Health and Human
  Services,

               Defendant.


                                    [PROPOSED] ORDER

       Upon consideration of Defendant’s Opposition to Plaintiff’s Motion for Summary

Judgment and Cross-Motion to Dismiss or, in the alternative, for Summary Judgment, the

opposition and replies thereto, and the entire record herein, it is hereby ORDERED that

Plaintiff’s Motion is DENIED and Defendant’s Motion is GRANTED.

       SO ORDERED this __ day of _________, 2024



                                                    ____________________________________
                                                    Honorable Trevor N. McFadden
                                                    United States District Judge
